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 6                       IN THE UNITED STATES DISTRICT COURT
 7                                FOR THE DISTRICT OF ARIZONA
 8
 9    Jose Montelongo-Morales,                           No. CV-19-08025-PCT-ROS (DMF)
10                   Plaintiff,                          ORDER
11    v.
12    James Driscoll, et al.,
13                   Defendants.
14
15           The complaint originally filed in state court alleged only state-law causes of action.

16    Defendants removed the case based on the “artful pleading doctrine” but, as explored in

17    the Court’s previous Order, that doctrine does not apply here. (Doc. 19). And Plaintiff’s

18    decision to amend the complaint does not impact the jurisdictional inquiry.              “In

19    determining the existence of removal jurisdiction, based upon a federal question, the court

20    must look to the complaint as of the time the removal petition was filed. Jurisdiction is

21    based on the complaint as originally filed and not as amended.” Abada v. Charles Schwab

22    & Co., 300 F.3d 1112, 1117 (9th Cir. 2002). Because the complaint filed in state court

23    “was entirely founded on state law claims,” subject matter jurisdiction does not exist and

24    this case must be remanded. Id.

25           Even if the Court were to ignore the Ninth Circuit’s rulings and base the

26    jurisdictional inquiry on the amended complaint, this case likely could not stay in federal

27    court. The amended complaint references “federal statutes and regulations” but provides

28    no meaningful explanation how those references give rise to a federal question. Cf. Easton
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 1    v. Crossland Mortg. Corp., 114 F.3d 979, 982 (9th Cir. 1997) (noting “mere reference of a
 2    federal statute in a pleading will not convert a state law claim into a federal cause of action”
 3    absent special circumstances). At the hearing, Plaintiff explained his putative federal claim
 4    involved preemption. Had Plaintiff alleged a straightforward preemption claim, federal
 5    jurisdiction might exist. See Indep. Training & Apprenticeship Program v. California
 6    Dep’t of Indus. Relations, 730 F.3d 1024, 1031 (9th Cir. 2013) (stating Ninth Circuit has
 7    upheld “jurisdiction over preemption claims seeking prospective relief” even in the absence
 8    of an obvious private right of action). But that possibility presents potentially difficult
 9    issues, which the parties have not addressed. See Armstrong v. Exceptional Child Ctr.,
10    Inc., 135 S. Ct. 1378, 1385 (2015) (“The power of federal courts of equity to enjoin
11    unlawful executive action is subject to express and implied statutory limitations.”). Suffice
12    it to say, the existence of federal jurisdiction even over the amended complaint is not
13    obvious.
14           Focusing on the relevant complaint, federal jurisdiction does not exist. Therefore,
15    Defendants’ removal was improper, and this case must be remanded for lack of subject
16    matter jurisdiction.
17           Accordingly,
18           IT IS ORDERED the Clerk of Court is directed to remand this action to the
19    Coconino County Superior Court.
20           Dated this 8th day of February, 2019.
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23                                                        Honorable Roslyn O. Silver
24                                                        Senior United States District Judge

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